                 Case
aAO 247 (02/08) Order    4:98-cr-00106-LGW-CLR
                      Regarding Motion for Sentence Reduction   Document 752 Filed 01/06/09 Page 1 of 1

                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Southern District of Georgia
                                                          Savannah Division
                  United States of America                         )
                                                                                                                            2.

                                                                     ) Case No: CR498-00106-003
                    Bernard Duane Williams
                                                                     ) USMNo: 09876-021
Date of Previous Judgment: January 28, 1999                          ) Adam Cerbone
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney


                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant jthe Director of the Bureau of Prisons Elthe court under 18 U.S.C.
§
  3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
            DENTED.            j GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                             thelast judgment issued) of _________________ months is reduced to __________________________

1. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                       32                        Amended Offense Level:                  32
Criminal History Category:                    111                       Criminal History Category:               Ill
Previous Guideline Range:            151        to 188 months           Amended Guideline Range             151 to 188      months

IL SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
  The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
0 Other (explain)



ill. ADDITIONAL COMMENTS
The defendant's offense level was not determined based on quantities of cocaine base. Rather, the defendant's
offense level was determined based on quantities of cocaine hydrochloride. As such, he is not eligible for a reduction
in sentence.

Except as provided above, all provisions of the judgment dated January 28, 1999,                       shall remain in effect.
IT IS SO ORDERED.

Order Date



Effective Date:                                                         United States District Judge
                                                                        For the Southern District of Georgia
                     (if different from order date)                                           Printed name and title
